73 F.3d 374
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Brian WEST, Petitioner-Appellant,v.UNITED STATES DEPARTMENT OF THE ARMY, Respondent-Appellee.
    No. 95-1236.
    United States Court of Appeals, Tenth Circuit.
    Jan. 8, 1996.
    
      Before SEYMOUR, Chief Judge, McKAY and HENRY, Circuit Judges.
      ORDER AND JUDGMENT1
      McKAY, Circuit Judge.
    
    
      1
      The parties have agreed that this case may be submitted for decision on the briefs.  See Fed.  R.App. P. 34(f);  10th Cir.  R. 34.1.2.  After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The case is therefore ordered submitted without oral argument.
    
    
      2
      We AFFIRM the district court's dismissal for the reasons given by the district court in adopting the magistrate judge's recommendation.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of 10th Cir.  R. 36.3
      
    
    